Case 6:20-bk-03355-KSJ Doc 463 Filed 10/29/21 Page 1 of 40

QUARTERLY OPERATING REPORT -

ATTACHMENT NO. 1
POST CONFIRMATION

 

Case Name: First Choice Healthcare Solutions, Inc.

 

Case Number: 6:20-bk-3355-KSJ

 

 

Date of Plan Confirmation: February 21, 2021

 

 

 

 

 

 

 

QUESTIONNAIRE
YES* NO
1. Have any assets been sold or transferred outside the normal course of business, or outside
the Plan of Reorganization during this reporting period? xX
2 Are any post-confirmation sales or payroll taxes past due? xX
3. Are any amounts owed to post-confirmation creditors/vendors over 90 days delinquent?
xX
4. Is the Debtor current on all post-confirmation plan payments? *See Footnote x

 

 

 

 

 

 

*If the answer to any of the above questions is "YES," provide a detailed explanation of each item on a separate sheet.

 

INSURANCE INFORMATION

 

YES NO*

 

1, Are real and personal property, vehicle/auto, general liability, fire, theft, worker's
compensation, and other necessary insurance coverages in effect? xX
2. Are all premium payments current? 4

*If the answer to any of the above questions is "NO," provide a detailed explanation of each item on a separate sheet.

 

 

 

 

 

 

CONFIRMATION OF INSURANCE

Payment Amount Delinquency
TYPE of POLICY and CARRIER Period of and F: Amount

D&O - Insurance 05/01/21 - 04/30/22 21,499.52 None

 

 

DESCRIBE PERTINENT DEVELOPMENTS, EVENTS, AND MATTERS DURING THIS REPORTING PERIOD:

On February 23, 2021, the Bankrupicy Court entered an Order Confirming Debtors’ Amended Juint Plan of Reorganization. On April 21, 20214
status hearing was held setting July 2, 2021 as the deadline for claim objections. On March 1, 2021, in the case of Maz Partners LP, individually
and on behalf of all other similarly situated, vs. First Choice Healthcare Solutions, {nc. and Christian Romandetti, Sr., Case No. 6:19-cv-00619-
PGB-LRH pending in the U.S. District Court, Middle District of Florida, Orlando Division, an Order Preliminary Approving Class Action
Settlement, Preliminary Certifying Settlement Class, and Directing Notice to Settlement Class was entered. The District Court set a hearing
regarding final approval of the settlement for July 26, 2021 at 10:00 a.m, at the United States District Court for the Middle District of Florida,
Orlando Division, 401 West Central Boulevard, Orlando, Florida 32801,

Estimated Date of Filing the Application for Final Decree: Summer/Early Fall 2021

 

 

 

I declare under penalty of perjury that this statement and the accompanying
documents and reports are true and correct to the best of my knowledge and
belief.

  
 

This 21st day of October 2021 .
Lance Eefetiman, CEO
Case 6:20-bk-03355-KSJ Doc 463 Filed 10/29/21 Page 2 of 40

First Choice Healthcare Solutions, Inc.
Case 6:20-bk-3355
For Period Ending September 30, 2021

Attachment No. 1

Questionnaire 4. Debtor has disbursed and is continuing to disburse payments to creditors.
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QUARTERLY OPERATING REPORT -
POST CONFIRMATION

CHAPTER 11 POST-CONFIRMATION

SCHEDULE OF RECEIPTS AND DISBURSEMENTS

 

Case Name: First Choice Healthcare Solutions, Inc.

 

Case Number: 6:20-bk-3355-KSJ

 

 

Date of Plan Confirmation: February 21, 2021

 

 

All items must be answered, Any which do not apply should be answered “none” or “N/A”.

1. CASH (Beginning of Period)

07/01/21 - 09/30/21

ATTACHMENT NO. 2

02/22/21 - 09/30/21

 

 

 

 

 

 

2. INCOME or RECEIPTS during the Period |§

3. DISBURSEMENTS

a.

Operating Expenses (Fees/Taxes):
(i) U.S. Trustee Quarterly Fees

(ii} Federal Taxes

(iii State Taxes

(iv Other Taxes

All Other Operating Expenses:

Plan Payments:

(i) Administrative Claims
(ii) Class One

(iii Class Two

(iv Class Three

(v) Class Four

(vi Class Five

(vi Class Six

(vi Class Seven

Total Disbursements (Operating & Plan)

1. CASH (End of Period)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Quarterly Post Confirmation Total
$ 51,088.52 I$ 183,015.02
3,601,239.94 1s 4,771,624.96 |
$ - _|$ None
None None
- 3,882.00
None None
$ 3,492,249.85 |$ 4,756,224.37
$ None $ 34,455.00
None None
None None
200,543.41 200,543.41
None None
None None
None None
None None
$ 3,692,793.26 |$ 4,995,104.78
{s (40,464.80)]$ (40,464.80)]

 
Case 6:20-bk-03355-KSJ Doc 463 Filed 10/29/21 Page 4 of 40

QUARTERLY OPERATING REPORT - ATTACHMENT NO. 3
POST CONFIRMATION

 

Case Name: First Choice Healthcare Solutions, Inc.

 

Case Number: 6:20-bk-3355-KSJ

 

 

 

Date of Plan Confirmation: February 21, 2021

 

CHAPTER 11 POST-CONFIRMATION
BANK ACCOUNT RECONCILIATIONS

Prepare Reconcilation for each Month of the Quarter

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

For 07/31/21

Bank Account Information

Account Account Account Account

#1 #2 #3 #4

Name of Bank: TD Bank
Account Number: XXX-XXX8854
Purpose of Account (Operating/Payroll/Tax) Operating
Type of Account (e.g. checking) Checking
1. Balance per Bank Statement 10,169.36 0
2. ADD: Deposits not credited 0 0
3. SUBTRACT: Outstanding Checks -5934.90 0
4. Other Reconciling Items 0 0
5. Month End Balance (Must Agree with Books) 4,234.46 0
Note: Attach copy of each bank statement and bank reconciliation.
Investment Account Information

Date of Type of Purchase Current

Bank / Account Name / Number Purchase Instrument Price Value

 

None

 

 

 

 

 

 

 

 

 

 

 

 

 

Note: Attach copy of each investment account statement.
Case 6:20-bk-03355-KSJ

QUARTERLY OPERATING REPORT -
POST CONFIRMATION

Doc 463

 

Case Name: First Choice Healthcare Solutions, Inc.

 

Case Number: 6:20-bk-3355-KSJ

 

Date of Plan Confirmation: February 21, 2021

 

 

 

CHAPTER 11 POST-CONFIRMATION

BANK ACCOUNT RECONCILIATIONS

Prepare Reconcilation for each Month of the Quarter

Filed 10/29/21 Page 5 of 40
ATTACHMENT NO. 3

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

For 08/31/21

Bank Account Information

Account Account Account Account

#1 #2 #3 #4

Name of Bank: TD Bank
Account Number: XXX-XXX8854
Purpose of Account (Operating/Payroll/Tax) Operating
Type of Account (e.g. checking) Checking
1. Balance per Bank Statement 161,097.19 0
2. ADD: Deposits not credited 0 0
3. SUBTRACT: Outstanding Checks -121110,35 0
4. Other Reconciling Items 0 0
5. Month End Balance (Must Agree with Books) 39,986.84 0
Note: Attach copy of each bank statement and bank reconciliation.
Investment Account Information

Date of Type of Purchase Current

Bank / Account Name / Number Purchase Instrument Price Value

 

None

 

 

 

 

 

 

 

 

 

 

 

 

Note: Attach copy of each investment account statement.

 
Case 6:20-bk-03355-KSJ Doc 463 Filed 10/29/21 Page 6 of 40
QUARTERLY OPERATING REPORT - ATTACHMENT NO. 3
POST CONFIRMATION

 

Case Name: First Choice Healthcare Solutions, Inc.

 

Case Number: 6:20-bk-3355-KSJ

 

 

 

Date of Plan Confirmation: February 21, 2021

 

CHAPTER 11 POST-CONFIRMATION
BANK ACCOUNT RECONCILIATIONS

Prepare Reconcilation for each Month of the Quarter

For 09/30/21

Bank Account Information

Account Account Account
#1 #3 #4

ame of Bank: TD Bank
t Number: XXX-XXX8854
of Account ra

T of Account Ch

. Balance per Bank Statement 51,055.61

. ADD: Deposits not credited 0
. SUBTRACT: Outstanding Checks -91520.41
. Other Items 0

. Month End Balance (Must Agree with Books) 40,464.80

 

Note: Attach copy of each bank statement and bank reconciliation.

 

Investment Account Information

Date of Type of Purchase Current
Bank / Account Name / Number Purchase Instrument Price Value

 

None

 

 

 

 

 

 

 

 

 

 

 

 

 

Note: Attach copy of each investment account statement.
Case 6:20-bk-03355-KSJ Doc 463 Filed 10/29/21 Page 7 of 40

 

ATTACHMENT NO. 4

Case Name: First Choice Healthcare Solutions, Inc.

 

Case Number: 6:20-bk-3355-KSJ

 

Date of Plan Confirmation: February 21, 2021

 

 

 

CHAPTER 11 POST-CONFIRMATION
CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank TD Bank
Number XXX-XXX8854
rpose of Account
T of Account Ch

Number Transaction or Amount

1a 07/01/21|FCID f Transfer 1
121b 07/01/21|FCI . Intercom T 100,000.
LFO70121 7. 4
121 /01/21| Keller,
21 07, 1
121b 07/01/21|TD Bank
Strad070721 07/07/21 Il
4 07/07/21
BPT070821 07/08/21|Beachside Class 3
1 07/08/21|TD Bank Debit Card
4 07/08/21|FCID Medical, Inc. Transfer
07/08/21 II C.
1a 07/08/21|TD Bank
tb 07/08/21|TD Bank i
ow070821 07/08/21 | Marina T: LLC. 000.
Dbt071221 07/12/21 Bank .
1521 07/15/21 D Medical, Inc. 114,000.
1621 07/15/21 T LLC. 11,000.
116/21 87.1
07/16/21 | First Insurance F 574.
07/16/21 Stock Transfer .00
Black071621 07/16/21 | Blackstone Advisors 5,000.
1621 07/16/21 | Total CFO Services 4 00
1621a 07/16/21|TD Bank
1 07/16/21|TD Bank i
Dbt072021 07 1 Bank Debit Card 21
Dbt072121 07/21/21|TD Bank Debit Card .
BPT072221 07/22/21|Beachside Class 3 000.
D072221 07/22/21|FCID Medical, Inc. | Transfer 500.00
Mohwk072221 07/22/21 | Mohawk Co. 000.
Strad072221 07/22/21 ll C. 000.
Tow072221 07/22/21|Marina T: LLC. Transfer ‘
2665 07/23/21 |Lee, Gillian 192.58
2666 07/23/21|OTC Markets Inc. 4,500.
07/23/21 -J.
2668 1 .
1a 1 Bank F
TD072321b 07/23/21|TD Bank 00
ic 07/23/21|TD Bank .
Dbt072621 07, 1|TD 1.
Dbt072721 07/27/21|TD Bank Debit Card 482.
Black072921 07/29/21 | Blackstone Advisors
0072921 07/29/21 |Total CFO Services 4 :
FCID072921 07/29/21|FCID Medical, Inc. Intercom Transfer 167,000.
72921 07/29/21 T, Inc. 10,000.
1 1 LLC. 10,000.00
1a 07, 1 .
1b 07/29/21|TD Bank .00
ic 07/29/21|TD Bank
TD072921d 07/29/21|TD Bank
Dbt080221 08/02/21|TD Bank Debit Card
LFO80221 08/02/21 |Friedman, Lance
TD080221 08/02/21|TD Bank
Dbt080421 08/04/21|TD Bank Debit Card

 
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ATTACHMENT NO. 4

Case Name: First Choice Healthcare Solutions, Inc.

 

Case Number: 6:20-bk-3355-KSJ

 

 

 

Date of Plan Confirmation: February 21, 2021

 

CHAPTER 11 POST-CONFIRMATION
CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank
Account Number

Pu of Account
T of Account (e

TD Bank
XXX-XXX8854

Checki

Number

Dbt0s0621
LF080621

1021
1121a
1121
TD081121
D081221
1221
CFO081221
1221a
1221b

FCID081321
0w081321
FCID081721

1921
1921
1

Dbt082321a
1b
1
1

Dbt082721

1
0w082721
Dbt083021b
E 1
Fried083021
Herz083021

1

1
la
1b
1c
1d
le

Transaction

08/06/21
1
08/06/21
1
08/10/21
11/21
11/21
08/11/21
08/12/21
08/12/21
08/12/21
08/12/21
08/12/21
08/13/21
08/13/21
08/13/21
08/17/21
08/19/21
08/19/21
08/23/21
08/23/21
08/23/21
1

5/21
08/26/21
1

121

7

121
08/27/21
08/30/21
1
08/30/21
08/30/21
08/30/21
08/30/21
7
08/30/21
1
08/30/21
08/30/21
08/30/21
08/31/21
08/31/21
08/31/21
08/31/21
08/31/21
08/31/21
08/31/21

08/31/21
08/31/21
1/21
1/21

TD Bank Debit Card
riedman, Lance
TD Bank

TD Bank Debit Card

riedman, Lance
TD Bank
FCID Medical, Inc.
Friedman, Lance
Total CFO Services
TD Bank
TD Bank
Lee,
FCID Medical, Inc.
LLC.
D inc.
H T,
TD Bank
Melbourne

Card
TD Bank Debit Card
TD Bank
Insurance Fi
TD Bank Debit Card
otal CFO Services
TD Bank
Marina Towers, LLC.
TD Bank Debit
Evan
Fi Lance
Terence
T.
Il,
TD Bank
TD
TD Bank
TD Bank
TD Bank
Weiss, Eric
BB&T Visa
ICS
T,
CS DI I
Jackson P.C.
Kris
Medical
Lord LLP
Marcum LLP
Inc.
' Office Products
Morris Nichols Arsht & Tunnell

3
3
Class 3
Class 3
Class 3
Class 3
3
3
Class 3
Class 3
Class 3
Class 3

 

Amount

5,000.
150,
24

10

.00
116,500.

166.66
4,500.

Transfer

44
Transfer

T

000.
4,181.
129.73
64
1,972.
7.
1,402.94
19,758.93
12,6247:
787.1
21
17.08
94

PPP> > OD>PHHHy
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ATTACHMENT NO. 4

Case Name: First Choice Healthcare Solutions, Inc.

 

Case Number: 6:20-bk-3355-KSJ

 

Date of Plan Confirmation: February 21, 2021

 

 

 

CHAPTER 11 POST-CONFIRMATION
CASHI/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank TD Bank
Number XXX-XXX8854
Pu of Account /Personal
of Account (e.g., Checking)

Number Transaction Amount
1/21|Net Suite 3 A.
1/21 Harrison & Lewis 3 1,399 A.
08/31/21 |Smith Class 4,341. A.
121 08/31/21 |Beachside Class 3
121a
Dbt083121b 08/31/21|TD Bank Debit Card .
121¢ 08/31/21|TD Bank 5.
121d 08/31/21|TD Bank 138.
121e 08/31/21|/TD Bank Debit Card
Dbt083121f 08/31/21]/TD Bank Debit Card .
121 08/31/21|TD Bank Debit Card 16.
121h 1/21|TD Bank Debit
121i 1/21 Bank Debit
122d 08/31/21 Debit
Dbt08321b 08/31/21|TD Bank Debit Card
Delaw083121 08/31/21] Delaware Division
FCID083121 1/21 ID Medical. Inc.
D083121b ID Medical, Inc.
121a
Dbt090121
Dbt090121b
121 1 Advisors, LLC.
21 09/01/21|TD Bank
09/02/21 | First Insurance F
09/02/21| Friedman, Lance

Bank Debit

1
1
1
1

1
Dbt090221 09/02/21|TD Bank Debit Card
1b 09/02/21|TD Bank Debit Card
1 09/07/21|TD Bank Debit Card
1 09/07/21|Marina Towers, LLC,
1021 09/10/21 | Total
4 1
091321 09/13/21 | . Transfer
CBIZ091421 09/14/21/CBIZ
TD091421 09/14/21|TD Bank
ow091421 09/14/21 |Marina T LLC.
ow091421a 09/14/21 |Marina T: LLC. Transfer
09/15/21 | FedEx
09/16/21 |Friedman, Lance
FCID091621 09/16/21 D Medical, Inc. Transfer
Dbt092021 09/20/21|TD Bank Debit
Dbt092121b 1/21|TD
Dbt092121a TD Bank Debit Card
FCID092321 09/23/21 |FCID Inc. Transfer
09/23/21
la 09/23/21 Bank
1b 09/23/21|TD Bank
21 09/24/21
Brown092421 09/24/21 |Dr. Neil Brown
421 09/24/21 | Total CFO Services
21 09/24/21
EK092421 09/24/21 |Kostorizos, Evan
EW092421 09/24/21|Weiss, Eric
FCID092421 09/24/21|F Inc. Transfer
Fire092421 09/24/21] First Fire

 
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ATTACHMENT NO. 4

Case Name: First Choice Healthcare Solutions, Inc.

 

Case Number: 6:20-bk-3355-KSJ

 

 

 

Date of Plan Confirmation: February 21, 2021

 

CHAPTER 11 POST-CONFIRMATION
CASH/DEBIT/CHECK DISBURSEMENTS DETAILS

Name of Bank TD Bank
Number XXX-XXX8854
Purpose of Account (
of Account (e.g., Checki

Number Transaction
Freit092421 Phil David Freitas
092421 09/24/21 | Fi Lance
1 Marchese
09/24/21
erence
09/24/21|Marina Towers, LLC.
09/24/21 Wide LLC.
Kinchen and Associates
09/27, Ross Friedman Ference LLP
09/27/21|TD Bank
09/27/21|TD Bank .
09/29/21|TD Bank Debit Card .60
09/30/21|CT Lien Solutions .
09/30/21 Trust .00
09/30/21|TD Bank Debit Card 01
Dbt093021a 09/30/21|TD Bank Debit Card .
09/30/21 | SAMJAMLEXMAT, Inc. 10,000.
1

TOTAL 3,692,793.26

 

If any checks written this period have not been delivered to the payee, provide details, including the payee, amount, explanation for
holding check and anticipated delivery date of check.

 

A. $ 49,381.54 - Certain Class 3 checks are being held while the Company finalized a joint stipulation for an alternative settliment with Global
Medical REIT, a priority vendor who raised concerns about paying unsecured creditors in advance of the priority claims. The Stipultaion was
approved on October 18, 2021 and the Company expects to release these checks by November 1, 2021.

 

 

B. $ 41,161.87 - Class 3 checks being held as recipient is challenging bankruptcy distribution.

 

 

 

 
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Uaeiten

Bank

America’s Most Convenient Bank®

FIRST CHOICE HEALTHCARE SOLUTIONS INC

em

   

STATEMENT OF ACCOUNT

Page: 1 of 6

DIP CASE 20-03355 MFLO Statement Period: Jul 01 2021-Jul 341 2021
709 SOUTH HARBOR CITY BLVD SUITE 530 Cust Ref #: MN 854-039-E-***
MELBOURNE FL 32901 Primary Account #: mg s854

Overdraft Policy Change Effective August 6, 2021

The following change applies only to Commercial and Small Business Checking Accounts and Money Market Accounts with
check access: TD is making changes to reduce Customer overdraft fees: Instead of charging an overdraft fee if you overdraw
your account by greater than $5, you may now overdraw your account by up to $10 without TD charging you an overdraft fee.

Overdraft fees apply to a maximum of five (5) items per day per account and this will remain unchanged. For Business Checking
accounts on Account Analysis Billing, all overdrafts, regardless of volume, are billed through Account Analysis. Please contact
your Treasury Management Officer for further details.

 

 

 

 

 

Chapter 11 Checking ve § 21 O21
FIRST CHOICE HEALTHCARE SOLUTIONS INC eciVe ms ASt “account # QS 954
DIP CASE 20-03355 MFLO RE Wie
ACCOUNT SUMMARY
Beginning Balance 51,088.52 Average Collected Balance 19,700.15
Electronic Deposits 50,500.00 Interest Earned This Period 0.00
Other Credits 675,000.00 Interest Paid Year-to-Date 0.00
Annual Percentage Yield Earned 0.00%
Checks Paid 23,766.51 Days in Period 31
Electronic Payments 523,242.65
Other Withdrawals 219,420.00
Ending Balance 10,169.36 se
DAILY ACCOUNT ACTIVITY _
Electronic Deposits
POSTING DATE DESCRIPTION AMOUNT
07/01 eTransfer Credit, Online Xfer 16,000.00
Transfer from CK 4369009133
07/07 eTransfer Credit, Online Xfer 20,000.00
Transfer from CK 4369009125
07/07 eTransfer Credit, Online Xfer 7,500.00
Transfer from CK 4369009133
07/21 eTransfer Credit, Online Xfer 7,000.00
Transfer from CK 4369009125
Subtotal: 50,500.00
Other Credits
POSTING DATE DESCRIPTION AMOUNT
07/01 WIRE TRANSFER INCOMING, LEGENDCAP OPPORTUNITY FUND, LLC 11 75,000.00
07/08 WIRE TRANSFER INCOMING, FIRSTFIRE GLOBAL OPPORTUNITIES FUND 150,000.00
07/14 WIRE TRANSFER INCOMING, GEORGE MELAS 150,000.00

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Deposits FDIC Insured | TO Bank, N.A. | Equal Housing Lender (er
Case 6:20-bk-03355-KSJ Doc 463 Filed 10/29/21

How to Balance your Account

Begin by adjusting your account register

as follows:

Subtract any services charges shown
on this statement.

Subtract any automatic payments,

4

. Your ending balance shown on this
statement is:

_ List below the amount of deposits or
credit transfers which do not appear
on this statement. Total the deposits

Page 12 of 40

Page: 2 of 6

Oo.
Ending
Balance =

10,169.36

 

Total +

transfers or other electronic with-
drawals not previously recorded.

Add any interest earned if you have a
an interest-bearing account.

4. List below the total amount of
withdrawals that do not appear on
this statement. Total the withdrawals
and enter on Line 4.

Add any automatic deposit or
overdraft line of credit.

Review all withdrawals shown on this
statement and check them off in your
account register.

Co

Follow instructions 2-5 to verify your

ending account balance. balance.

@ @

DEPOSITS NOT DOLLARS CENTS WITHDRAWALS NOT
ON STATEMENT OWN STATEMENT

and enter on Line 2.

Subtotal by adding lines 1 and 2.

. Subtract Line 4 from 3, This adjusted
balance should equal your account

Deposits

®

Sub Total

"Total
Withdrawals...

 

9 Adjusted
Balance

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Total Deposits

 

 

 

FOR CONSUMER ACCOUNTS ONLY -~- IN CASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS;

If you need Information about an electronic fund transfer or if you believe there is an
error on your bank statement or receipt relaling to an electronic fund transfer,
telephone the bank immediately at the phone number listed on the front of your
slalement or write lo:

TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,
Malne 04243-1377
We must hear from you no later than sixly (60) calendar days after we sent you the
first statement upon which the error or problem first appeared. When contacling the
Bank, please explain as clearly as you can why you believe there is an error or why
more information is needed, Please include:

« Your name and account number.

+ Adescriplion of the error or transaction you are unsure about.

+ The dollar amount and date of the suspected error.
When making a verbal Inquiry, the Bank may ask that you send us your complaint in
writing within ten (10) business days after the first telephone call.

We will investigate your complaint and will correct any error promptly. If we take more
(han len (10) business days to do this, we will credit your account for the

amount you think is in error, so that you have (he use of the money during the time it
lakes lo complete our investigation.

INTEREST NOTICE

Total interest credited by the Bank to you this year will be reported by the Bank to the
internal Revenue Service and State tax authorities. The amount to be reported will be
reporled separately to you by the Bank.

DOLLARS CENTS. WITHDRAWALS NOT] POLLARS | CENTS
ON STATEMENT
‘Total
Withdrawals ey

 

 

 

   

FOR CONSUMER LOAN ACGOUNTS ONLY — BILLING RIGHTS
SUMMARY

In case of Errors or Questions About Your Bill:

If you think your bill Is wrong, or if you need more informalion about a transaction on
your bill, wrile us at P.O. Box 1377, Lewiston, Maine 04243-1377 as soon as
possible. We must hear from you no later than sixty (60) days after we senl you the
FIRST bill on which the error or problem appeared. You can telephone us, but doing
so will not preserve your rights. In your letter, give us lhe following information:

* Your name and account number.

* The dollar amount of the suspected error.

* Describe the error and explain, if you can, why you beliave there is an error.

\f you need more Information, describe the item you are unsure about.

You do not have to pay any amount in question while we are investigating, but you
are still obligated lo pay the paris of your bill that are not in question. While we
investigate your question, we cannot report you as delinquent or take any aclion lo
collect the amount you question.

FINANCE CHARGES; Although the Bank uses lhe Daily Balance methad lo calculate
the finance charge on your Moneyline/Overdraft Protection account (Ihe term "ODP"
or "OD" refers to Overdraft Protection), the Bank discloses (he Average Daily Balance
on the periodic statement as an easier method for you lo calculate the finance
charge. The finance charge begins to accrue on the date advances and other debils
are posted to your account and will continue until the balance has been paid in full

To compute the finance charge, multiply the Average Daily Balance times the Days in
Period limes the Daily Periodic Rate {as listed in the Account Summary section on
the front of the statement). The Average Daily Balance is calculated by adding the
balance for each day of the billing cycle, then dividing the tolal balance by the number
of Days in the Billing Cycle, The daily balance is the balance for the day after
advances have been added and payments or credits have been sublracted plus or
minus any other adjustments that might have occurred that day. There is no grace
period during which no finance charge accrues, Finance charge adjustments are
Included in your tolal finance charge.
Case 6:20-bk-03355-KSJ Doc 463 Filed 10/29/21 Page 13 of 40

9) Bank

America’s Most Convenient Bank® STATEMENT OF ACCOUNT

 

FIRST CHOICE HEALTHCARE SOLUTIONS INC

| Page: 3 of 6

DIP CASE 20-03355 MFLO Statement Period: Jul 04 2021-Jul 31 2021
Cust Ref #: GI S854-039-E-**"*

Primary Account #: ala3854

 

DAILY ACCOUNT ACTIVITY
Other Credits (continued)

 

 

07/21 WIRE TRANSFER INCOMING, MICHAEL J MCCORMACK 100,000.00

07/28 WIRE TRANSFER INCOMING, MARTIN B ROWE LIVING TRUST 50,000.00

07/29 WIRE TRANSFER INCOMING, CRAIG DELIGDISH 150,000.00

Subtotal: 675,000.00

Checks Paid No. Checks: 5 *Indicates break in serial sequence or check processed electronically and listed under Electronic Payments

DATE SERIAL NO. AMOUNT DATE SERIAL NO. AMOUNT

07/23 2662 187,17 07/26 2666" 202.26

07/23 2663 22,574.50 07/23 2668* 192.58

07/27 2664 600.00

Subtotal: 23,756.51

Electronic Payments

POSTING DATE DESCRIPTION AMOUNT

07/01 eTransfer Debit, Online Xfer 100,000.00
Transfer to CK 4369009125

07/01 eTransfer Debit, Online Xfer 16,000.00
Transfer to CK 4369009125

07/01 DEBIT CARD PURCHASE, *****04027988652, AUT 062921 VISA DDA PUR 68.93
CKE MUSTARDS LAST STECO 321 2545776 *FL

07/08 eTransfer Debit, Online Xfer 76,000.00
Transfer to CK 4369009125

07/08 eTransfer Debit, Online Xfer 7,000.00
Transfer to CK 4369009133

07/12 DEBIT CARD PURCHASE, *****04027805088, AUT 070821 VISA DDA PUR 77.61
SHELL OIL 57524663101 JACKSONVILLE * FL

07/12 DEBIT CARD PURCHASE, *****04027805088, AUT 070821 VISA DDA PUR 33.08
THE BURGER PLACE MELBOURNE *FL

07/15 eTransfer Debit, Online Xfer 114,000.00
Transfer to CK 4369009125

07/15 eTransfer Debit, Online Xfer 11,000.00
Transfer to CK 4369009133

07/20 DEBIT POS, *****04027805088, AUT 072021 DDA PURCHASE 26.21
PUBLIX SUPER MAR 1411S MELBOURNE *FL

07/21 DEBIT POS, *****04027805088, AUT 072121 DDA PURCHASE 85.00
SHELL SERVICE STATION TITUSVILLE * FL

07/22 eTransfer Debit, Online Xfer 20,500.00
Transfer to CK 4369009125

07/22 eTransfer Debit, Online Xfer 10,500.00

Transfer to CK 4369009133

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Rank Deposils FDIC insured | TD Bark, NLA. | Equal Housing Lender Tel

 
Case 6:20-bk-03355-KSJ Doc 463 Filed 10/29/21 Page 14 of 40

jp) Bank

America’s Most Convenient Bank®

 

STATEMENT OF ACCOUNT

FIRST CHOICE HEALTHCARE SOLUTIONS INC

Page:
- MFLO
DIP CASE 20-03355 Statement Period:

40f6
Jul 01 2021-Jul 31 2021

Cust Ref #: @GEEEE 8.54-039-E-***

Primary Account #:

s854

 

DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)

 

POSTING DATE DESCRIPTION AMOUNT
07/28 DEBIT CARD PURCHASE, *****04027805088, AUT 072621 VISA DDA PUR 475.91

AMERICAN AIRO001757533218 FORTWORTH *TX
07/28 DEBIT CARD PURCHASE, *****04027805088, AUT 072821 VISA DDA PUR 475.94

AMERICAN AIRO01757533218 FORTWORTH * TX
07/29 eTransfer Debit, Online Xfer 167,000.00

Transfer to CK 4369009125

Subtotal: 523,242.65
Other Withdrawals
POSTING DATE DESCRIPTION AMOUNT
07/01 WIRE TRANSFER OUTGOING, Phillip Keller 12,000.00
07/01 WIRE TRANSFER OUTGOING, Lance Friedman 9,000.00
07/01 WIRE TRANSFER FEE 30.00
07/01 WIRE TRANSFER FEE 30,00
07/07 WIRE TRANSFER OUTGOING, Larry Clifford Stradling || 30,000.00
07/07 WIRE TRANSFER FEE 30.00
07/08 WIRE TRANSFER OUTGOING, Larry Clifford Stradling 1I 40,000.00
07/08 WIRE TRANSFER OUTGOING, De Beaubien Simmons Knight 25,000.00
07/08 WIRE TRANSFER FEE 30.00
07/08 WIRE TRANSFER FEE 30.00
07/15 WIRE TRANSFER OUTGOING, Blackstone Capital Advisors 5,000.00
07/15 WIRE TRANSFER OUTGOING, Solution Mgmt Corp 4,500.00
07/15 WIRE TRANSFER FEE 30,00
07/15 WIRE TRANSFER FEE 30,00
07/22 WIRE TRANSFER OUTGOING, Larry Clifford Stradling I 25,000.00
07/22 WIRE TRANSFER OUTGOING, De Beaubien Simmons Knight 25,000.00
07/22 WIRE TRANSFER OUTGOING, Mowhawk Management Corp 15,000.00
07/22 WIRE TRANSFER FEE 30.00
07/22 WIRE TRANSFER FEE 30.00
07/22 WIRE TRANSFER FEE 30.00
07/29 WIRE TRANSFER OUTGOING, Siena Advisors LLC 10,000.00
07/29 WIRE TRANSFER OUTGOING, Samjamlexmt, inc 10,000.00
07/29 WIRE TRANSFER OUTGOING, Solution Mgmt Corp 4,500.00
07/29 WIRE TRANSFER OUTGOING, Lance Friedman 4,000.00
07/29 WIRE TRANSFER FEE 30.00
07/29 WIRE TRANSFER FEE 30.00
07/29 WIRE TRANSFER FEE 30.00
07/29 WIRE TRANSFER FEE 30.00
Subtotal: 219,420.00

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www. tdbank. com

 

Bank Deposits FDIC Insured | TD Bank, N.A.| Equal Housing Lender (ay
Case 6:20-bk-03355-KSJ Doc 463 Filed 10/29/21 Page 15 of 40

Bank

America’s Most Convenient Bank® STATEMENT OF ACCOUNT

 

FIRST CHOICE HEALTHCARE SOLUTIONS INC

DIP CASE 20-03355 MFLO Page: 5 of 6
Statement Period: Jul 01 2021-Jul 34 2021
Cust Ref #: ls 854-039-E-*
Primary Account #: laps 354

 

DAILY BALANCE SUNIMARY

 

DATE BALANCE DATE BALANCE
06/30 51,088.52 07/21 126,587.69
07/01 4,959.59 07/22 30,497.69
07/07 2,429.59 07/23 7,543.44
07/08 4,369.59 07/26 7,341.18
07/12 4,258.90 07/27 6,741.18
07/14 154,258.90 07/28 55,789.36
07/15 19,698.90 07/29 10,169.36
07/20 19,672.69

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.idbank.com

Bank Deposits FDIC Insured | TD Bank, N.A.| Equal Housing Lender [St

 
Case 6:20-bk-03355-KSJ Doc 463 Filed 10/29/21 Page 16 of 40

 

America’s Most Convenient Bank®

FIRST CHOICE HEALTHCARE SOLUTIONS INC

DIP CASE 20-03355 MFLO

 

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STATEMENT OF ACCOUNT
Page: 6 of 6
Statement Period: Jul 01 2021-Jul 31 2021

Cust Ref #: gm 854-039-E-**
Primary Account #: as 854

   

    

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08/02/21

Case 6:20-bk-03355-KSJ Doc 463 Filed 10/29/21 Page 17 of 40

First Choice Healthcare Solutions, Inc.

Reconciliation Summary
10030 - TD Bank Operating, Period Ending 07/31/2021

 

 

 

 

Jul 31, 21
Beginning Balance 51,088.52
Cleared Transactions i dene
Checks and Payments - 48 items -766,419.16
Deposits and Credits - 10 items = 725,500.00
Total Cleared Transactions _ -40,919.16
Cleared Balance 10,169.36
Uncleared Transactions
Checks and Payments - 3 items _ -5,934.90
Total Uncleared Transactions -5,934,.90
Register Balance as of 07/31/2021 4,234.46
Ending Balance 4,234.46

Page 1
2:29 PM
08/02/21

Case 6:20-bk-03355-KSJ Doc 463 Filed 10/29/21 Page 18 of 40

First Choice Healthcare Solutions, Inc.

Reconciliation Detail

10030 - TD Bank Operating, Period Ending 07/31/2021

 

Type

Date

Num

 

Beginning Balance

Cleared Transactions
Checks and Payments - 48 items

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Total Checks and Payments

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TDO72...
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Deposits and Credits - 10 items

Name

 

FCID Medical, Inc.
FCID Medical, Inc.
Keller, Phillip J.
Friedman, Lance
TD Bank Debit Card
TD Bank

TD Bank

Stradling II, Larry C.
TD Bank

FCID Medical, Inc.
Stradling II, Larry C.

Beachside Physical ...

Marina Towers, LLC.
TD Bank Debit Card
TD Bank

TD Bank

TD Bank Debit Card
FCID Medical, Inc.
Marina Towers, LLC.

First Insurance Fund...

Blackstone Capital ...
Total CFO Services

Corporate Stock Tra...

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TD Bank

TD Bank

TD Bank Debit Card
TD Bank Debit Card

Beachside Physical ...

Stradling Il, Larry C.
FCID Medical, Inc.

Mohawk Manageme...

Marina Towers, LLC.

Petty Cash - J. Hard...

Lee, Gillian

TD Bank

TD Bank

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TD Bank Debit Card
FCID Medical, Inc.
Siena Advisors, LLC.

SAMJAMLEXMAT, I...

Total CFO Services
Blackstone Capital ...
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Amount Balance
51,088.52
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-12,000.00 -128,000.00
-9,000.00 -137,000.00
-68.93 -137,068.93
-30.00 -137,098.93
-30.00 -137,128.93
-30,000.00 -167,128.93
-30.00 -167,158.93
-76,000.00 -243,158.93
-40,000.00 -283,158.93
-25,000.00 -308, 158.93
-7,000.00 -315,158.93
-33.08 -315,192.01
-30.00 -315,222.01
-30.00 -315,252.01
-77.61 -315,329.62
-114,000.00 -429,329.62
-11,000.00 -440,329.62
-22,574.50 -462,904.12
-5,000.00 -467 904.12
-4,500.00 -472,404.12
-600.00 -473,004.12
-187.17 -473,191.29
-30.00 -473,221.29
-30.00 -473,251.29
-26.21 -473,277.50
-85.00 -473,362.50
-25,000.00 -498, 362.50
-25,000.00 -523,362.50
-20,500.00 -543,862.50
-15,000.00 ~558,862.50
-10,500.00 -569 362.50
-202.26 -569,564.76
-192.58 -569,757.34
-30.00 -569, 787.34
-30.00 -569,817.34
-30.00 -569,847.34
-951.82 -570,799.16
-167,000.00 -737,799.16
-10,000.00 -747,799.16
-10,000.00 -757,799.16
-4,500.00 -762,299.16
-4,000.00 -766,299.16
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-30.00 -766,359.16
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75,000.00 91,000.00
7,500.00 98,500.00
20,000.00 118,500.00
150,000.00 268,500.00
150,000.00 418,500.00
7,000.00 425,500.00
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Page 1
2:29 PM
08/02/21

Case 6:20-bk-03355-KSJ Doc 463 Filed 10/29/21 Page 19 of 40

First Choice Healthcare Solutions, Inc.

Reconciliation Detail

10030 - TD Bank Operating, Period Ending 07/31/2021

 

Type Date _ Num
Deposit 07/28/2021
Deposit 07/29/2021

Total Deposits and Credits
Total Cleared Transactions
Cleared Balance

Uncleared Transactions
Checks and Payments - 3 items

Bill Pmt -Check 07/23/2021 2666
Bill Pmt -Check 07/23/2021 2668
Check 07/27/2021 Dbt07...

Total Checks and Payments
Total Uncleared Transactions
Register Balance as of 07/31/2021

Ending Balance

Name Cir
X
xX

OTC Markets Group...
Weiss, Eric
TD Bank Debit Card

 

 

 

Amount Balance

50,000.00 575,500.00
160,000.00 725,500.00
725,500.00 725,500.00
-40,919.16 -40,919.16
-40,919.16 10,169.36
-4,500.00 -4,500.00
-952.90 -5,452.90
-482.00 -5,934.90
-5,934.90 -5,934.90
-5,934.90 -5,934.90
-46,854.06 4,234.46
46,854.06 4,234.46

 

Page 2
Case 6:20-bk-03355-KSJ Doc 463 Filed 10/29/21 Page 20 of 40

| Bank ee ee

America’s Most Convenient Bank® E STATEMENT OF ACCOUNT

     

FIRST CHOICE HEALTHCARE SOLUTIONS INC Page: 10f6
DIP CASE 20-03355 MFLO Statement Period: Aug 01 2021-Aug 31 2021
709 SOUTH HARBOR CITY BLVD SUITE 530 Cust Ref #: a3 54-039-E-***
MELBOURNE FL 32901 Primary Account #: als354

Overdraft Policy Change Effective August 6, 2021

The following change applies only to Commercial and Small Business Checking Accounts and Money Market Accounts with
check access: TD is making changes to reduce Customer overdraft fees: Instead of charging an overdraft fee if you overdraw
your account by greater than $5, you may now overdraw your account by up to $10 without TD charging you an overdraft fee.

Overdraft fees apply to a maximum of five (5) items per day per account and this will remain unchanged. For Business Checking
accounts on Account Analysis Billing, all overdrafts, regardless of volume, are billed through Account Analysis. Please contact

your Treasury Management Officer for further details, . \ Ont
; een cep G2 202
Chapter 11 Checking RECELV EQ ou!
FIRST CHOICE HEALTHCARE SOLUTIONS INC Account # @miaBS 854

DIP CASE 20-03355 MFLO

 

 

 

 

 

 

 

 

 

 

 

 

 

ACCOUNT SUMMARY
Beginning Balance 10,169.36 Average Collected Balance 30,181.86
Electronic Deposits 47,023.54 Interest Earned This Period 0.00
Other Credits 781,574.50 Interest Paid Year-to-Date 0.00
Annual Percentage Yield Earned 0.00%
Checks Paid 28,207.84 Days in Period 31
Electronic Payments 363,870.71
Other Withdrawals 285,591.66 ~\
Ending Balance 161,097.19 X
git
ow
Total for this Period Total Year-to-Date
Total Overdraft Fees $0.00 $0.00
Total Returned Item Fees (NSF) $35.00 $35.00
DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE DESCRIPTION AMOUNT
08/02 DEBIT CARD CREDIT, *****04027805088, AUT 080221 VISA DDA REF 23,54 VY
WWW ADVANCEAUTOPARTS ROANOKE *VA ;
08/02 eTransfer Credit, Online Xfer 5,000.00 .
Transfer from CK 4369009133
08/06 eTransfer Credit, Online Xfer 5,000.00
Transfer from CK 4369009133
08/19 eTransfer Credit, Online Xfer 21,000.00
Transfer from CK 4369009125
08/19 eTransfer Credit, Online Xfer 1,000.00
Transfer from CK 4369009125
08/27 eTransfer Credit, Online Xfer 15,000.00

Transfer from CK 4369009125
Subtotal: 47,023.54

Gall 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Deposits FDIC Insured | TO Bank, NLA. | Equal Heusing Lende! tel

 
Case 6:20-bk-03355-KSJ Doc 463 Filed 10/29/21

How to Balance your Account

Begin by adjusting your account register
as follows:

Subtract any services charges shown
on this statement.

Subtract any automatic payments,
transfers or other electronic with-
drawals not previously recorded.

Add any interest earned if you have
an interest-bearing account.

Add any automatic deposit or
overdraft line of credit.

Review all withdrawals shown on this
statement and check them off in your
account register,

Follow instructions 2-5 to verify your
ending account balance.

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DEPOSITS NOT
ON STATEMENT

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Total Deposits|.

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FOR CONSUMER ACCOUNTS ONLY —- IN CASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

\f you need information about an electronic fund transfer or if you believe there is an
error on your bank statement or receipt relating to an electronic fund transfer,
telephone the bank immediately at the phone number listed on the front of your

statement or write to:

TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewiston,

Malne 04243-1377

We must hear from you no later than sixty (60) calendar days after we sent you the .
first statement upon which the error or problem firsl appeared. When contacting the ’
Bank, please explain as clearly as you can why you believe there is an error or why .

more informatlon Is needed. Please include:
* Your name and account number.

+ Adescription of (he error or transaction you are unsure about.

* The dollar amount and date of (he suspected error.

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. Your ending balance shown on this
statement is:

_ List below the amount of deposits or
credit transfers which do not appear
on this statement, Total the deposits
and enter on Line 2.

. Subtotal by adding lines 1 and 2.

. List below the total amount of
withdrawals that do not appear on
this statement, Total the withdrawals
and enter on Line 4.

5, Subtract Line 4 from 3, This adjusted

balance should equal your account
balance.

®

WITHDRAWALS NOT
ON STATEMENT

DOLLARS CENTS

 

 

 

 

 

 

 

 

SUMMARY

Page 21 of 40

Page: 2 of 6
Ending: 161,097.19
Balance .

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Withdrawals -

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ON STATEMENT

 

 

 

 

 

 

Total
Withdrawals

 

 

 

FOR CONSUMER LOAN ACCOUNTS ONLY — BILLING RIGHTS

In case of Errors or Questions About Your Bill:

If you think your bill is wrong, or if you need more Information about a transactlon on
your bill, write us at P.O. Box 1377, Lewlston, Malne 04243-1377 as soon as

possible, We must hear from you no laler than sixty (60) days after we sent you lhe

FIRST bill on which the error or problem appeared. You can telephone us, but doing

sO will not preserve your rights. In your letter, give us the followlng Information:

Your name and account number,
The dollar amount of the suspected error.
Describe the error and explain, if you can, why you believe there is an error.

If you need more information, describe the item you are unsure about.
You do not have to pay any amount In questlon while we are tnvestigating, but you

are still obligated to pay the parts of your bill that are not in question, While we

invesligate your question, we cannot report you as delinquent or lake any action to

When making a verbal Inqulry, the Bank may ask that you send us your complaint In
wriling wilhin ten (10) business days after the first telephone call.

We will investigale your complaint and will correct any error promplly. if we take more
than ten (10) business days to do this, we will credlt your account for the

amount you think Is In error, so that you have the use of the money during the time it
takes to complete our investigalion,

INTEREST NOTICE

Total interest credited by Ihe Bank to you this year will be reporled by the Bank to the
Internal Revenue Service and State tax authorities. The amount to be reported will be
reported separately to you by the Bank,

collect the amount you question.

FINANCE CHARGES: Allhough the Bank uses lhe Dally Balance method to calculate
the finance charge on your Moneyline/Overdraft Prolection account (the term “ODP"
or “OD" refers to Overdraft Protection), the Bank discloses the Average Daily Balance
on the periodic slatement as an easier method for you to calculate lhe finance
charge. The finance charge begins to accrue on the date advances and other debits
are posted to your account and will continue until lhe balance has been paid in full.
To compule the finance charge, multiply lhe Average Daily Batance times the Days in
Period times the Daily Periadic Rate (as listed in the Account Summary section on
the front of the statement). The Average Dally Balance Is calculated by adding lhe
balance for each day of the billing cycle, then dividing the total balance by the number
of Days in the Billing Cycle. The daily balance is the balance for the day afler
advances have been added and payments ar credils have been sublracled plus or
minus any other adjustments that might have occurred that day. There is no grace
perlod during which no finance charge accrues. Finance charge adjustments are
included In your total flnance charge.
Case 6:20-bk-03355-KSJ Doc 463 Filed 10/29/21 Page 22 of 40

  

3) Bank

, America’s Most Convenient Bank® STATEMENT OF ACCOUNT

FIRST CHOICE HEALTHCARE SOLUTIONS INC

 

 

 

 

. Page: 3 of 6
DIP CASE 20-03355 MFLO Statement Period: Aug 01 2021-Aug 31 2021
Cust Ref #: 8 54-039-E-"""
Primary Account #: am 8854
DAILY ACCOUNT ACTIVITY
Other Credits
POSTING DATE DESCRIPTION AMOUNT
08/10 WIRE TRANSFER INCOMING, TIMOTHY W CLARK OR STEPHANIE K 32,000.00
08/11 WIRE TRANSFER INCOMING, JERRE HILLS 85,000.00
08/11 WIRE TRANSFER INCOMING, BARBARA SHER 25,000.00
08/13 WIRE TRANSFER INCOMING, FIRST STEP RECOVERY SOLUTIONS, INC. 10,000.00
08/16 WIRE TRANSFER INCOMING, ALAN J CHRZANOWSKI 10,000.00
08/26 RETURNED ITEM 22,574.50
08/27 WIRE TRANSFER INCOMING, DIANNE L KNAPP 50,000.00
08/30 WIRE TRANSFER INCOMING, 622 CAPITAL LLC 500,000.00
08/31 WIRE TRANSFER INCOMING, CARMEL, MILAZZO & FEIL LLP 47,000.00
Subtotal: 781,574.50
Checks Paid No. Checks: § *Indicates break In serial sequence or check processed electronically and listed under Electronic Payments
DATE SERIAL NO, AMOUNT DATE SERIAL NO. AMOUNT
08/05 2665 952,90 08/25 2670 22,574.50
08/03 2667* 4,500.00 08/31 2671 150.00
08/13 2669" 30,44
Subtotal: 28,207.84
Electronic Payments
POSTING DATE DESCRIPTION AMOUNT
08/02 DEBIT CARD PURCHASE, *****04027805088, AUT 080121 VISA DDA PUR 207.03
WWW ADVANCEAUTOPARTS 877 238 2623 “VA
08/05 DEBIT POS, *****04027805088, AUT 080521 DDA PURCHASE 27.94
PUBLIX SUPER MAR 1411S MELBOURNE *FL
08/06 DEBIT CARD PURCHASE, *****04027988652, AUT 080421 VISA DDA PUR 122.08
HILTON MELBOURNE 321 7680200 * FL
08/09 DEBIT CARD PURCHASE, *****04027988652, AUT 080621 VISA DDA PUR 1,000.00
ACI FINRA CORPORATE AC 240 386 5910 * MD
08/10 DEBIT CARD PURCHASE, *****04027988652, AUT 080921 VISA DDA PUR 2,150.00
CORPORATE STOCK TRANSFER DENVER *CcO
08/11 DEBIT CARD PURCHASE, *****04027805088, AUT 081021 VISA DDA PUR 20.24
SUSHI BISTRO OF OCALA OCALA *FL
08/12 eTransfer Debit, Online Xfer 116,500.00
Transfer to CK 4369009125
08/12 DEBIT CARD PURCHASE, *****04027805088, AUT 081121 VISA DDA PUR 29.65
HOVAN GOURMET MEDITERRAN JACKSONVILLE * FL
08/13 eTransfer Debit, Online Xfer 7,500.00
Transfer to CK 4369009133
08/13 eTransfer Debit, Online Xfer 3,500.00
Transfer to CK 4369009125
08/17 eTransfer Debit, Online Xfer 8,000.00

Transfer to CK 4369009125

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Duposlts FDIC Insured [TO Bank, N.A, | Equal Housing Lender {Ey}

 
Case 6:20-bk-03355-KSJ Doc 463

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America’s Most Convenient Bank® STATEMENT OF ACCOUNT
FIRST CHOICE HEALTHCARE SOLUTIONS INC
DIP CASE 20-03355 MFLO Page: . 4 of 6
Statement Period: Aug 01 2021-Aug 31 2021
Cust Ref #: a 854-039-E-***
Primary Account #: aS 854
DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE DESCRIPTION ANIOUNT
08/23 DEBIT CARD PURCHASE, *****04027805088, AUT 082221 VISA DDA PUR 47,53
IHOP 36 224 ORLANDO *FL
08/24 DEBIT CARD PURCHASE, *****04027805088, AUT 082121 VISA DDA PUR 159.00
ABM ORLANDO INTLAB TER ORLANDO io
08/25 DEBIT POS, *****04027805088, AUT 082521 ODA PURCHASE 39.20
PUBLIX SUPER MAR 1411S MELBOURNE “*FL
08/27 eTransfer Debit, Online Xfer 9,000.00
Transfer to CK 4369009133
08/27 DEBIT POS, *****04027805088, AUT 082721 DDA PURCHASE 91.16
RACETRAC2349 OCALA * FL
08/31 eTransfer Debit, Online Xfer 200,000.00
Transfer to CK 4369009125
08/31 eTransfer Debit, Online Xfer 15,000.00
Transfer to CK 4369009125
08/31 DEBIT CARD PURCHASE, *****04027805088, AUT 083021 VISA DDA PUR 438.80
DELTA AIR 006247108671 DELTACOM *CA
08/31 DEBIT POS, *****04027805088, AUT 083121 DDA PURCHASE 38.08
T MOBILE 1535 BROADWAY S NEWYORK *NY
Subtotal: 363,870.71
Other Withdrawals
POSTING DATE DESCRIPTION AMOUNT
08/02 WIRE TRANSFER OUTGOING, Lance Friedman 5,000.00
08/02 WIRE TRANSFER FEE 30,00
08/06 WIRE TRANSFER OUTGOING, Lance Friedman 5,000.00
08/06 WIRE TRANSFER FEE 30.00
08/11 WIRE TRANSFER OUTGOING, Lance Friedman 10,000.00
08/11 WIRE TRANSFER FEE 30.00
08/12 WIRE TRANSFER OUTGOING, Lance Friedman 9,166.66
08/12 WIRE TRANSFER OUTGOING, Solution Mgmt Corp 4,500.00
08/12 WIRE TRANSFER FEE 30.00
08/12 WIRE TRANSFER FEE 30.00
08/19 WIRE TRANSFER OUTGOING, Kraig T Higginson 25,000.00
08/19 WIRE TRANSFER FEE 30.00
08/26 OVERDRAFT RET 35.00
08/27 WIRE TRANSFER OUTGOING, Solution Mgmt Corp 4,500.00
08/27 WIRE TRANSFER FEE 30.00
08/30 WIRE TRANSFER OUTGOING, Larry Clifford Stradling 1 55,000.00
08/30 WIRE TRANSFER OUTGOING, Evan Kostorizos 25,000.00
08/30 WIRE TRANSFER OUTGOING, Lance Friedman 25,000.00
08/30 WIRE TRANSFER OUTGOING, Herzog Capital Management 25,000.00
08/30 WIRE TRANSFER OUTGOING, Eric Weiss 25,000.00

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

 

Bank Deposits FDIC Insured | TO Bank, NLA, | Equal Houstig Lender (ey
Case 6:20-bk-03355-KSJ Doc 463 Filed 10/29/21 Page 24 of 40

 

~ America’s Most Convenient Bank® STATEMENT OF ACCOUNT

FIRST CHOICE HEALTHCARE SOLUTIONS INC

 

 

 

 

Page: 5 of 6
DIP CASE 20-0335 MFLO Statement Period: Aug 01 2021-Aug 31 2021
Cust Ref #: 8 854-039-E-***
Primary Account #: aaa 8854
DAILY ACCOUNT ACTIVITY
Other Withdrawals (continued)
POSTING DATE DESCRIPTION AMOUNT
08/30 WIRE TRANSFER OUTGOING, Kraig T Higginson 7,000.00
08/30 WIRE TRANSFER FEE 30.00
08/30 WIRE TRANSFER FEE 30.00
08/30 WIRE TRANSFER FEE 30.00
08/30 WIRE TRANSFER FEE 30.00
08/30 WIRE TRANSFER FEE 30.00
08/31 WIRE TRANSFER OUTGOING, De Beaubien Simmons Knight 60,000.00
08/31 WIRE TRANSFER FEE 30.00
Subtotal: 285,591.66
DAILY BALANCE SUMMARY
DATE BALANCE DATE BALANCE
07/31 10,169.36 08/16 11,835.96
08/02 9,955.87 08/17 3,835.96
08/03 5,455.87 08/19 805.96
08/05 4,475.03 08/23 758.43
08/06 4,322.95 08/24 599.43
08/09 3,322.95 08/25 ~22,014.27
08/10 33,172.95 08/26 525.23
08/11 133,122.71 08/27 51,904.07
08/12 2,866.40 08/30 389,754.07
08/13 1,835.96 08/31 161,097.19

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

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Case 6:20-bk-03355-KSJ Doc 463 Filed 10/29/21 Page 25 of 40

 

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America’s Most Convenient Bank®

FIRST CHOICE HEALTHCARE SOLUTIONS INC

DIP CASE 20-03355 MFLO

 

 

 

 

 

 

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STATEMENT OF ACCOUNT

Page: 6 of 6
Statement Period: Aug 01 2021-Aug 31 2021
Cust Ref #: (PS 854-039-E-"**
Primary Account #: 3854

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First Choice Healthcare Solutions, Inc.

Reconciliation Summary
10030 - TD Bank Operating, Period Ending 08/31/2021

 

Beginning Balance
Cleared Transactions
Checks and Payments - 52 items
Deposits and Credits - 16 items

Total Cleared Transactions
Cleared Balance

Uncleared Transactions
Checks and Payments - 29 items

Total Uncleared Transactions
Register Balance as of 08/31/2021

New Transactions
Checks and Payments - 1 item

Total New Transactions

Ending Balance

 

 

 

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Page 1
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Type

First Choice Healthcare Solutions, Inc.

Reconciliation Detail

10030 - TD Bank Operating, Period Ending 08/31/2021

Date

 

Beginning Balance

Cleared Transactions
Checks and Payments - 52 Items

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Total Checks and Payments

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FCID Medical, Inc.
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Friedman, Lance
Kostorizos, Evan
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-30.00 -10,689.93
-122.08 -10,812.01
-27.94 -10,839.95
-5,000.00 -15,839.95
-1,000.00 -16,839.95
-30.00 -16,869.95
-2,150.00 -19,019.95
-20.24 -19,040.19
-10,000.00 -29,040.19
-30.00 -29,070.19
-29,65 -29,099.84
-116,500.00 -145,599,.84
-9,166.66 -154,766.50
-4,500.00 -159,266.50
-30.00 -159,296.50
-30.00 -159,326.50
-7,500.00 -166,826.50
-3,500.00 -170,326.50
-30.44 ~170,356.94
-8,000.00 -178,356.94
-25,000.00 -203,356.94
-30.00 -203,386.94
-159.00 -203,545,94
-150.00 -203,695.94
-47,53 -203,743.47
-39,20 -203,782.67
-35,00 -203,817.67
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-55,000.00 -272,438.83
-25,000.00 -297 438.83
-25,000.00 -322,438.83
-25,000.00 -347,438.83
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09/02/21

Case 6:20-bk-03355-KSJ Doc 463 Filed 10/29/21 Page 28 of 40

First Choice Healthcare Solutions, Inc.

Reconciliation Detail

10030 - TD Bank Operating, Period Ending 08/31/2021

Num

Name

 

2670

TDO83...

Type Date
Deposits and Credits - 16 items
Deposit 08/02/2021
Deposit 08/02/2021
Deposit 08/06/2021
Deposit 08/10/2021
Deposit 08/11/2021
Deposit 08/11/2021
Deposit 08/13/2021
Deposit 08/16/2021
Deposit 08/19/2021
Deposit 08/19/2021
Bill Pmt -Check 08/23/2021
Deposit 08/27/2021
Deposit 08/27/2021
Check 08/30/2021
Deposit 08/30/2021
Deposit 08/31/2021

Total Deposits and Credits

Total Cleared Transactions

Cleared Balance

Uncleared Transactions
Checks and Payments - 29 items

Check
Bill Pmt -Check
Bill Pmt -Check
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Total Checks and Payments

Total Uncleared Transactions

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Register Balance as of 08/31/2021

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First Insurance Fund...

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Marcum LLP

Leading Edge Medic...
Locke Lord LLP
Delaware Division of...
Smith & Associates
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Amount Balance
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10,000.00 162,023.54
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-2,582.88 -115,851.95
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-658.94 -119,883.29
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-79.62 -120,849.17
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29,817.48 39,986.84

Page 2
Case 6:20-bk-03355-KSJ Doc 463 Filed 10/29/21 Page 29 of 40

 

 

 

 

9:30 AM First Choice Healthcare Solutions, Inc.
09/02/21 Reconciliation Detail
10030 - TD Bank Operating, Period Ending 08/31/2021
- Type Date Num Name _ _ clr Amount Balance
New Transactions
Checks and Payments - 1 item
Check 09/01/2021 Dbt0g... TD Bank Debit Card _ -316.40 -316.40
Total Checks and Payments __ -316.40 -316.40
Total New Transactions _ -316.40 -316.40
Ending Balance 29,501.08 39,670.44

 

Page 3
Case 6:20-bk-03355-KSJ Doc 463 Filed 10/29/21 Page 30 of 40

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America’s Most Convenient Bank® E STATEMENT OF ACCOUNT
FIRST CHOICE HEALTHCARE SOLUTIONS INC Page: 1 of 7
DIP CASE 20-03355 MFLO Statement Period: Sep 01 2021-Sep 30 2021
709 SOUTH HARBOR CITY BLVD SUITE 530 Cust Ref #: ta
MELBOURNE FL 32901 Primary Account #: Gs 854
aft 0 4 202i

ECEIVED 00
Overdraft Policy Change Effective August 6, 2027 REC
The following change applies only to Commercial and Small Business Checking Accounts and Money Market Accounts with
check access: TD is making changes to reduce Customer overdraft fees: Instead of charging an overdraft fee if you overdraw
your account by greater than $5, you may now overdraw your account by up to $10 without TD charging you an overdraft fee.

Overdraft fees apply to a maximum of five (5) items per day per account and this will remain unchanged. For Business Checking
accounts on Account Analysis Billing, all overdrafts, regardless of volume, are billed through Account Analysis. Please contact
your Treasury Management Officer for further details.

Chapter 11 Checking

FIRST CHOICE HEALTHCARE SOLUTIONS INC Account # Qa 8 854
DIP CASE 20-03355 MFLO

 

 

 

 

 

 

 

 

 

 

 

 

ACCOUNT SUMMARY
Beginning Balance 161,097.19 Average Collected Balance 99,244.66
Electronic Deposits 38,716.74 Interest Earned This Period 0.00
Other Credits 2,115,500.00 Interest Paid Year-to-Date 0.00
Annual Percentage Yield Earned 0.00%
Checks Paid 115,349.91 Days in Period 30
Electronic Payments 1,069,853.41
Other Withdrawals 1,079,055.00 \r)
Ending Balance 51,055.61 co
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\
Total for this Period Total Year-to-Date
Total Overdraft Fees $0.00 $0.00
Total Returned Item Fees (NSF) $35,00 $70.00

DAILY ACCOUNT ACTIVITY
Electronic Deposits
POSTING DATE DESCRIPTION AMOUNT
09/02 DEBIT CARD CREDIT, *****04027805088, AUT 090221 VISA DDA REF 316.40

DELTA AIR 006766369232 SEATTLE *WA
09/07 eTransfer Credit, Online Xfer 5,200.00

Transfer from CK 4369009125
09/10 eTransfer Credit, Online Xfer 5,200.00

Transfer from CK 4369009125
09/14 ACH DEPOSIT, US BANK ONLINE TRIALCREDT ****528367 0.21
09/14 ACH DEPOSIT, US BANK ONLINE TRIALCREDT ****528365 0.13
09/23 eTransfer Credit, Online Xfer 28,000.00

Transfer from CK 4369009125
Subtotal: 38,716.74

 

Bank Duposlta FDIC Insured | TD Bank, NLA, | Equal Housing Lendar t=)
Case 6:20-bk-03355-KSJ Doc 463 Filed 10/29/21

How to Balance your Account

Page 31 of 40

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Page: 2 of 7
Begin by adjusting your account register, Your ending balance shown on this O25
as follows: ios mS :
statement 1s: “nding 51,055.64
Subtract any services charges shown . Balance,
on this statement. 2, List below the amount of deposits or st
. credit transfers which do not appear ie
Subtract any automatic payments, on this statement. Total the deposits - Total +
transfers or other electronic with- and enter on Line 2. Deposits as
drawals not previously recorded, Beira oat
Add any interest earned if you have 3. Subtotal by adding lines 1 and 2. ©
an interest-bearing account. es
. . 4, List below the total amount of Sub Total.
Add any automatic deposit or .
overdraft line of credit withdrawals that do not appear on
this statement. Total the withdrawals ee
Review all withdrawals shown on this and enter on Line 4. Total ‘
statement and check them off in your Withdrawals
account register, . Subtract Line 4 from 3. This adjusted :
Follow instructions 2-5 to verify your balance should equal your account "i ones
ending account balance. balance. © ‘Adjusted
ro Balance: 0 eee
@ @
DEPOSITS NOT DOLLARS | CENTS WITHDRAWALS NOT] DOLLARS | CENTS WITHDRAWALS NOT] DOLLARS | CENTS
ON STATEMENT ON STATEMENT ON STATEMENT
Total
Total Deposits Q Withdrawals “s @

 

 

 

 

 

 

 

 

 

FOR CONSUMER ACCOUNTS ONLY — IN CASE OF ERRORS OR
QUESTIONS ABOUT YOUR ELECTRONIC FUNDS TRANSFERS:

If you need information about an electronic fund transfer or if you believe there is an
error on your bank statement or receipt relating to an electronic fund transfer,
telephone lhe bank Immediately at the phone number Ilsted on the front of your
statement or write to:

TD Bank, N.A., Deposit Operations Dept, P.O. Box 1377, Lewlston,
Maine 04243-1377
We must hear from you no later than sixty (60) calendar days after we sent you the
first statement upon which the error or problem first appeared. When conlacling the
Bank, please explaln as clearly as you can why you believe there is an error or why
more Information is needed. Please include:

¢ Your name and account number,

* Adescriplion of he error or transaction you are unsure about.

* The dollar amounl and date of the suspected errar.
When making a verbal Ingulry, the Bank may ask that you send us your complaint In
writing wilhin ten (10) business days after the first telephone call.
We will investigate your complaint and will correct any error promptly. If we take more
than len (10) business days to do this, we will credit your account for the
amount you think Is In error, so that you have the use of the money during the time It
takes to complete our invesligalion.

INTEREST NOTICE

Total interest credited by lhe Bank to you this year will be reported by the Bank to the
Internal Revenue Service and State tax authorities, The amount to be reported will be
reporled separately to you by (he Bank.

FOR CONSUMER LOAN ACCOUNTS ONLY -- BILLING RIGHTS
SUMMARY

In case of Errors or Questions About Your Bill:

If you think your bill Is wrong, or if you need more informatton about a transactlon on
your bill, wrlte us at P.O, Box 1377, Lewiston, Malne 04243-1377 as soon as
possible. We mus| hear from you no later than sixty (60) days after we sent you the
FIRST bill on which the error or problem appeared. You can telephone us, but doing
so will not preserve your rights. In your letter, glve us the following information:

* Your name and account number.

+ The dollar amount of the suspecled error,

* Describe the error and explaln, if you can, why you believe there is an error.

If you need more informalion, describe the item you are unsure about.

You do not have to pay any amount In question while we are Investigating, bul you
are still obligated to pay the parts of your bill that are not In question. While we
investigate your question, we cannot report you as delinquent or take any action to
collect the amount you question.

FINANCE CHARGES: Allhough the Bank uses the Daily Balance method to calculate
the finance charge on your Moneyline/Overdraft Proteclion account (the term "ODP"
or "OD" refers to Overdraft Protection), the Bank discloses the Average Dally Balance
on the periodic statement as an easier method for you to calculate the finance
charge. The finance charge begins to accrue on the date advances and other debits
are posled to your accounl and will continue until the balance has been pald in full.
To compute the finance charge, mulliply the Average Daily Balance times the Days in
Period times the Daily Periodic Rate (as listed In the Account Summary seclion on
the front of the statement). The Average Dally Balance is calculated by adding the
balance for each day of the billing cycle, then dividing the total balance by the number
of Days in the Billing Cycle. The daily balance is (he balance for the day afler
advances have been added and payments or credits have been subtracted plus or
minus any other adjustments that might have occurred that day. There is no grace
perlod during which no finance charge accrues. Finance charge adjustments are
Included In your total finance charge.
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America’s Most Convenient Bank® STATEMENT OF ACCOUNT

FIRST CHOICE HEALTHCARE SOLUTIONS INC

Page: 3 of 7
0-03355 MFLO
DIP CASE 20-03 M Statement Period: Sep 01 2021-Sep 30 2021
Cust Ref #:
Primary Account #; a 854

 

DAILY ACCOUNT ACTIVITY
Other Credits

 

 

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be

POSTING DATE DESCRIPTION AMOUNT

09/13 WIRE TRANSFER INCOMING, CARMEL, MILAZZO & FEIL LLP 768,000.00

09/23 RETURNED ITEM 37,500.00

09/23 WIRE TRANSFER INCOMING, CARMEL, MILAZZO & FEIL LLP NY 1,238,000.00

09/24 WIRE TRANSFER INCOMING, FIRST CHOICE HEALTHCARE SOLUTIONS | 47,000.00

09/24 WIRE TRANSFER INCOMING, CENTURY BUSINESS MASTER ACCOUNT 25,000.00

Subtotal: 2,115,500,00

Checks Paid No. Checks: 8 *Indicates break in serlal sequence or check processed electronically and listed under Electronic Payments

DATE SERIAL NO. AMOUNT DATE SERIAL NO, AMOUNT

09/01 2670 22,574.50 09/03 2691 14,583.33

09/07 2672" 441.37 09/27 2692 167.86

09/07 2688* 21,499.52 09/17 2694" 16,583.33

09/03 2690* 2,000.00 09/22 2695 37,500.00

Subtotal: 115,349.91

Electronic Payments

POSTING DATE DESCRIPTION AMOUNT

09/01 DEBIT CARD PURCHASE, *****04027805088, AUT 090121 VISA DDA PUR 316.40
DELTA AIR 006766369232 SEATTLE *WA

09/01 DEBIT CARD PURCHASE, *****04027805088, AUT 083121 VISA DDA PUR 79.62
CURB SVC WOODSIDE WOODSIDE *NY

09/01 DEBIT CARD PURCHASE, *****04027805088, AUT 083121 VISA DDA PUR 75,70
NYC TAXI 1246 12460010 LONG ISLAND C * NY

09/01 DEBIT POS, *****04027805088, AUT 090121 DDA PURCHASE 532.
PUBLIX SUPER MAR 1411S MELBOURNE *FL

09/01 DEBIT CARD PURCHASE, ****"04027805088, AUT 083121 VISA DDA PUR 14.16
CURB SVC QUEENS QUEENS *NY

09/01 DEBIT CARD PURCHASE, ****704027805088, AUT 083121 VISA DDA PUR 4.54
TST PARIS BAGUETTE 52 NEWYORK *NY

09/02 CCD DEBIT, CORP E CORP E-CHECK ****155126 6,674.40

09/02 DEBIT CARD PURCHASE, *****04027805088, AUT 083121 VISA DDA PUR 138.77
FRESCO BY SCOTTO NEW YORK “NY

09/02 DEBIT CARD PURCHASE, *****04027805088, AUT 083121 VISA DDA PUR 62.60
GATE 1228 JACKSONVILLE * FL

09/02 DEBIT CARD PURCHASE, *****04027805088, AUT 083121 VISA DDA PUR 36.00
ANASSA NEW YORK *NY

09/02 DEBIT CARD PURCHASE, *****04027805088, AUT 083121 VISA DDA PUR 19.93
LYFT RIDE TUE 5AM 855 865 9553 *CA

09/02 DEBIT CARD PURCHASE, *****04027805088, AUT 083121 VISA DDA PUR 16.45
T2 CROQUE MADAME 8665083558 *NY

09/02 DEBIT CARD PURCHASE, *****04027805088, AUT 083121 VISA DDA PUR 8.69
PRET A MANGER 020 NEW YORK *NY

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

 

Bank Depoaite FDIC Insurad | TD Bank, NLA, | Equal Housing Lender ty
Case 6:20-bk-03355-KSJ Doc 463 Filed 10/29/21 Page 33 of 40

Bank

America’s Most Convenient Bank® STATEMENT OF ACCOUNT

 

FIRST CHOICE HEALTHCARE SOLUTIONS INC

 

 

 

| Page: 4of7
DIP CASE 20-0355 MFLO Statement Period: Sep 01 2021-Sep 30 2021
Cust Ref #: Saye napiaadnie E+
Primary Account #: S854
DAILY ACCOUNT ACTIVITY
Electronic Payments (continued)
POSTING DATE DESCRIPTION AMOUNT
09/02 DEBIT CARD PURCHASE, *****04027805088, AUT 083121 VISA DDA PUR 6.87 /
CIAO KIOSK A JAX JACKSONVILLE * FL
09/07 eTransfer Debit, Online Xfer 87,000.00
Transfer to CK 4369009133
09/07 DEBIT CARD PURCHASE, *****04027805088, AUT 090221 VISA DDA PUR 28.49 d
TST FRIGATE S WATERFRON MELBOURNE *FL
09/09 DEBIT CARD PURCHASE, *****04027805088, AUT 090721 VISA DDA PUR 340.00 J
PRONTO LIMOUSINE SERVICE 3524272942 *FL
09/13 eTransfer Debit, Online Xfer 300,000.00
Transfer to CK 4369009125
09/14 eTransfer Debit, Online Xfer 350,000.00
Transfer to CK 4369009133
09/14 eTransfer Debit, Online Xfer 7,000.00
Transfer to CK 4369009133
09/14 ELECTRONIC PMT-WEB, US BANK ONLINE TRIALDEBIT ****528369 0.34
09/16 eTransfer Debit, Online Xfer 28,000.00
Transfer to CK 4369009125
09/20 DEBIT POS, *****04027805088, AUT 091821 DDA PURCHASE 100,00 J
GATE 1228 450 PARK STR) JACKSONVILLE * FL
09/21 DEBIT POS, *****04027805088, AUT 092121 DDA PURCHASE 96.00 J
BUC EES 47 2330 GATE DAYTONA BEACH * FL /
09/22 DEBIT CARD PURCHASE, *****04027988652, AUT 092121 VISA DDA PUR 70.00
SUNBIZ ORG FILING 850 245 6939 *FL
09/23 eTransfer Debit, Online Xfer 210,000.00
Transfer to CK 4369009125
09/24 eTransfer Debit, Online Xfer 62,000.00
Transfer to CK 4369009125
09/24 eTransfer Debit, Online Xfer 17,500.00
Transfer to CK 4369009133 v,
09/29 DEBIT POS, *****04027805088, AUT 092921 DDA PURCHASE 96.60 °
GATE 1228 450 PARK STR) =JACKSONVILLE * FL
09/30 DEBIT POS, *****04027805088, AUT 093021 DDA PURCHASE 98,02 av
BUC EES 47 2330 GATE DAYTONA BEACH * FL
09/30 DEBIT POS, *****04027805088, AUT 093021 DDA PURCHASE 34.01 J
PUBLIX SUPER MAR 1411S MELBOURNE *FL
Subtotal: 1,069,853.41
Other Withdrawals
POSTING DATE DESCRIPTION AMOUNT
09/01 WIRE TRANSFER OUTGOING, Siena Advisors LLC 10,000.00
09/01 WIRE TRANSFER FEE 30,00
09/10 WIRE TRANSFER OUTGOING, Solution Mgmt Corp 4,500.00
09/10 WIRE TRANSFER FEE 30.00
09/14 WIRE TRANSFER OUTGOING, CBIZ Inc. 55,000.00

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

 

Bank Duposits FDIC Insured | TD Bank, 8,4. | Equal Housing Lender tI
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Bank
* America’s Most Convenient Bank® STATEMENT OF ACCOUNT
FIRST CHOICE HEALTHCARE SOLUTIONS INC
DIP CASE 20-03355 MFLO Page: 5 of 7
Statement Period: Sep 01 2021-Sep 30 2021
Cust Ref #: <a 854-039-E-""
Primary Account #: 854
DAILY ACCOUNT ACTIVITY
Other Withdrawals (continued)
POSTING DATE DESCRIPTION AMOUNT
09/14 WIRE TRANSFER FEE 30.00
09/23 WIRE TRANSFER OUTGOING, Robert Haghgou 9,000.00
09/23 OVERDRAFT RET 35,00
09/23 WIRE TRANSFER FEE 30.00
09/24 WIRE TRANSFER OUTGOING, Firstfire Global Opportunitesfund 200,000.00
09/24 WIRE TRANSFER OUTGOING, Worldwide Strategies Holdings Inc 156,000.00
09/24 WIRE TRANSFER OUTGOING, Craig Deligdish 150,000.00
09/24 WIRE TRANSFER OUTGOING, Alchemy Advisory Lic 105,000.00
09/24 WIRE TRANSFER OUTGOING, Anthony Marchese 75,000.00
09/24 WIRE TRANSFER OUTGOING, Ernest Brittain Traynham 47,000.00
09/24 WIRE TRANSFER OUTGOING, Phil David Freitas 47,000.00
09/24 WIRE TRANSFER OUTGOING, Dr Neil M Brown 47,000.00
09/24 WIRE TRANSFER OUTGOING, Eric Weiss 25,000.00
09/24 WIRE TRANSFER OUTGOING, Evan Kostorizos 25,000.00
09/24 WIRE TRANSFER OUTGOING, Herzog Capital Management 25,000.00
09/24 WIRE TRANSFER OUTGOING, Lance Friedman 25,000.00
09/24 WIRE TRANSFER OUTGOING, Solution Mgmt Corp 5,400.00
09/24 WIRE TRANSFER FEE 30.00 %
09/24 WIRE TRANSFER FEE 30.00 #
09/24 WIRE TRANSFER FEE 30.00
09/24 WIRE TRANSFER FEE 30.00 #
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09/24 WIRE TRANSFER FEE 30.00 ~
09/24 WIRE TRANSFER FEE 30.00 %
09/24 WIRE TRANSFER FEE 30.00 -#
09/24 WIRE TRANSFER FEE 30,00 4
09/27 WIRE TRANSFER OUTGOING, Sichenzia Ross Friedman Ference 37,550.00
09/27 WIRE TRANSFER OUTGOING, MCELRAVY KINCHEN AND ASSOCIATES 20,000.00
09/27 WIRE TRANSFER FEE 30.00
09/27 WIRE TRANSFER FEE 30.00
09/30 WIRE TRANSFER OUTGOING, Samjamlexmt, inc 10,000.00
09/30 WIRE TRANSFER FEE 30.00
Subtotal: 1,079,055.00

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

 

Bank Deposits FDIC Insured | TD Bank, 0.4, | Equal Housing Lender [Sy
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Bank

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America’s Most Convenient Bank® STATEMENT OF ACCQUNT

FIRST CHOICE HEALTHCARE SOLUTIONS INC

 

 

DIP CASE 20-03355 MFLO Page: 6 of 7
Statement Period: Sep 01 2021-Sep 30 2021
Cust Ref #: elias 354-039-£-"*
Primary Account #: Gs 854
DAILY BALANCE SUMMARY
DATE BALANCE DATE BALANCE
08/31 161,097.19 09/17 12,683.10
09/01 127,966.45 09/20 12,583.10
09/02 121,319.14 09/21 12,487.10
09/03 104,735.81 09/22 -25,082.90
09/07 966.43 09/23 1,059,352.10
09/09 626,43 09/24 119,092.10
09/10 1,296.43 09/27 61,314.24
09/13 469,296.43 09/29 61,217.64
09/14 57,266.43 09/30 51,055.61
09/16 29,266.43

Call 1-800-937-2000 for 24-hour Bank-by-Phone services or connect to www.tdbank.com

Bank Daposite FDIC Insurad | TD Bank, N.A, | Equal Housing Lender ce

 
Case 6:20-bk-03355-KSJ Doc 463 Filed 10/29/21 Page 36 of 40

 

FIRST CHOICE HEALTHCARE SOLUTIONS INC

" America’s Most Convenient Bank®

DIP CASE 20-03355 MFLO

 

 

 

 

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STATEMENT OF ACCOUNT
Page: 7 of7
Statement Period: Sep 01 2021-Sep 30 2021
Cust Ref #: ag 8354-039-E-*"*
Primary Account #: Bs 354
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#2695 09/22 $37,500.00
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10/04/21

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First Choice Healthcare Solutions, Inc.

Reconciliation Summary
10030 : TD Bank Operating, Period Ending 09/30/2021

Beginning Balance
Cleared Transactions
Checks and Payments - 65 items
Deposits and Credits - 22 items

Total Cleared Transactions
Cleared Balance

Uncleared Transactions
Checks and Payments - 18 items

Total Uncleared Transactions
Register Balance as of 09/30/2021

New Transactions
Checks and Payments - 2 items

Total New Transactions

Ending Balance

 

 

 

 

Sep 30, 21
161,097.19
-2,179,757.98
2,069,716.40
-110,041.58
51,055.61
-91,520.41
_ “91,620.41
~40,464.80
-16,620.23
_ -16,620.23
-57,085.03

 

Page 1
12:54 PM
10/04/21

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First Choice Healthcare Solutions, Inc.

Reconciliation Detail
10030 - TD Bank Operating, Period Ending 09/30/2021

 

 

Type Date Num Name Clr Amount Balance
Beginning Balance 161,097.19
Cleared Transactions
Checks and Payments - 65 items
Bill Pmt -Check 08/23/2021 2672 FedEx x -441,37 -441.37
Bill Pmt -Check 08/27/2021 2670 First Insurance Fund... x -22,574.50 -23,015.87
Bill Pmt -Check 08/31/2021 Delaw... Delaware Division of... 4 -6,674.40 -29,690.27
Check 08/31/2021 Dbt08... TD Bank Debit Card xX -138.77 -29,829.04
Check 08/31/2021 Dbt08... TD Bank Debit Card xX -79.62 -29,908.66
Check 08/31/2021 Dbt08... TD Bank Debit Card Xx -75.70 -29,984.36
Check 08/31/2021 Dbt08... TD Bank Debit Card xX -36.00 -30,020.36
Check 08/31/2021 Dbt08... TD Bank Debit Card x -19.93 -30,040.29
Check 08/31/2021 Dbtods... TD Bank Debit Card x -16.45 -30,056.74
Check 08/31/2021 Dbt08.... TD Bank Debit Card xX -14.16 -30,070.90
Check 08/31/2021 Dbt08... TD Bank Debit Card x -8.69 -30,079.59
Check 08/31/2021 Dbt08... TD Bank Debit Card Xx -6.87 -30,086.46
Check 08/31/2021 Dbt08... TD Bank Debit Card xX -4,54 -30,091.00
Bill Pmt -Check 09/01/2021 Siena... Siena Advisors, LLC. X -10,000.00 -40,091.00
Check 09/01/2021 Dbto9... TD Bank Debit Card Xx -316.40 -40,407.40
Check 09/01/2021 Dbt09... TD Bank Debit Card xX -35,82 -40,443.22
Check 09/01/2021 TDO9O... TD Bank xX -30.00 -40,473,22
Bill Pmt -Check 09/02/2021 2688 First Insurance Fund... X -21,499.52 -61,972.74
Bil! Pmt -Check 09/02/2021 2691 Friedman, Lance x -14,583.33 -76,556.07
Bill Pmt -Check 09/02/2021 2690 Friedman, Lance xX -2,000.00 -78,556.07
Check 09/02/2021 Dbt09.... TD Bank Debit Card xX -62.60 -78,618.67
Check 09/02/2021 Dbt09.... TD Bank Debit Card x -28.49 -78,647.16
Check 09/07/2021 Tow09... Marina Towers, LLC. x -87,000.00 -165,647.16
Check 09/07/2021 Dbtog... TD Bank Debit Card x -340.00 -165,987.16
Bill Pmt -Check 09/10/2021 CFOO... Total CFO Services x -4,500.00 -170,487.16
Check 09/10/2021 TDO91.... TD Bank xX -30.00 -170,517.16
Check 09/13/2021 091321 FCID Medical, Inc. x -300,000.00 -470,517.16
Check 09/14/2021 Tow09... Marina Towers, LLC. xX -350,000.00 -820,517.16
Bill Pmt -Check 09/14/2021 CBIZO... CBIZ Xx -55,000.00 -875,517.16
Check 09/14/2021 Tow09... Marina Towers, LLC. Xx -7,000.00 -882,517.16
Check 09/14/2021 TDO91.... TD Bank Xx -30.00 -882,547.16
Bill Pmt -Check 09/15/2021 2692 FedEx x -167.86 -882,715.02
Check 09/16/2021 FCIDO... FCID Medical, Inc. X -28,000.00 -910,715.02
Bill Pmt -Check 09/16/2021 2694 Friedman, Lance X -16,583.33 -927 298.35
Check 09/20/2021 Dbt09... TD Bank Debit Card x -100.00 -927,398.35
Check 09/21/2021 Dbtos... TD Bank Debit Card xX -70.00 -927,468.35
Check 09/22/2021 Dbto9... TD Bank Debit Card xX -96.00 -927,564.35
Check 09/23/2021 FCIDO.... FCID Medical, Inc. x -210,000.00 -1,137,564.35
Check 09/23/2021 HaghO... Haghgou, Robert x -9,000.00 -1,146,564.35
Check 09/23/2021 TDOY92... TD Bank xX -35.00 ~1,146,599,.35
Check 09/23/2021 TDOY2.... TD Bank xX -30.00 -1,146,629.35
Check 09/24/2021 Fire09... First Fire Global Op... Xx -200,000.00 ~1,346,629.35
Check 09/24/2021 Via09... World Wide Holding... Xx -156,000.00 -1,502,629.35
Check 09/24/2021 DeligO.... Deligdish, Craig xX -150,000.00 -1,652,629.35
Check 09/24/2021 Alche... Alchemy Advisory, L... x -105,000.00 -1,757,629.35
Check 09/24/2021 March... Anthony & Meg Mar... x -75,000.00 -1,832,629,35
Check 09/24/2021 FCIDO... FCID Medical, Inc. X -62,000.00 ~1,894,629.35
Check 09/24/2021 Brown... Dr. Nei! Brown Xx -47,000.00 -1,941 629.35
Check 09/24/2021 FreitO... Phil David Freitas xX -47,000.00 -1,988,629.35
Check 09/24/2021 EWo9... Weiss, Eric x -25,000.00 -2,013,629.35
Check 09/24/2021 THO92... Herzog, Terence xX -25,000.00 -2,038,629.35
Check 09/24/2021 EK092..._ Kostorizos, Evan xX -25,000.00 -2,063,629.35
Check 09/24/2021 LFO92... Friedman, Lance X -25,000.00 -2,088,629.35
Check 09/24/2021 Tow09... Marina Towers, LLC. xX -17,500.00 -2,106,129.35
Bill Pmt -Check 09/24/2021 CFOO... Total CFO Services xX -5,400.00 -2,111,529.35
Check 09/24/2021 TDO92.... TD Bank xX -360.00 -2,111,889.35
Check 09/27/2021 SichO... Sichenzia Ross Frie... Xx -37,550,00 -2,149,439,35
Check 09/27/2021 M&KO...  McElravy, Kinchen a... x -20,000.00 -2,169,439.35
Check 09/27/2021 TDO92.... TD Bank x -30.00 -2,169,469.35
Check 09/27/2021 TDO92.... TD Bank x -30.00 -2,169,499,35
Check 09/29/2021 Dbt09.... TD Bank Debit Card xX -96.60 -2,169,595.95
Bill Pmt -Check 09/30/2021 SamJ.... SAMJAMLEXMAT, |... Xx -10,000.00 -2,179,595.95
Check 09/30/2021 Dbt09... TD Bank Debit Card xX -98,02 -2,179,693.97

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10/04/24 Reconciliation Detail
10030 - TD Bank Operating, Period Ending 09/30/2021
Type Date Num Name Clr Amount Balance
Check 09/30/2021 Dbtog... TD Bank Debit Card X -34.01 -2,179,727.98
Check 09/30/2021 TDO93.... TD Bank x -30.00 -2,179,757.98
Total Checks and Payments -2,179,757.98 -2,179,757.98
Deposits and Credits - 22 items
Bill Pmt -Check 08/31/2021 Morris Nichols Arsht... xX 0.00 0.00
Bill Pmt -Check 08/31/2021 Net Suite X 0.00 0.00
Bill Pmt -Check 08/31/2021 Schnader Harrison ... xX 0.00 0.00
Bill Pmt -Check 08/31/2021 Smith & Associates X 0.00 0.00
Bill Pmt -Check 08/31/2021 Meehans' Office Pro... Xx 0.00 0.00
Bill Pmt -Check 08/31/2021 Mediant Communica... X 0,00 0.00
Bill Pmt -Check 08/31/2021 Marcum LLP Xx 0.00 0.00
Bill Pmt -Check 08/31/2021 Locke Lord LLP x 0.00 0.00
Bill Pmt -Check 08/31/2021 Jackson Lewis P.C. Xx 0.00 0.00
Bill Pmt -Check 08/31/2021 CS DISCO INC Xx 0,00 0.00
Bill Pmt -Check 08/31/2021 Corporate Stock Tra... X 0.00 0.00
Bill Pmt -Check 08/31/2021 Broadridge ICS xX 0.00 0,00
Bill Pmt -Check 09/02/2021 2689 Friedman, Lance xX 0,00 0,00
Deposit 09/02/2021 xX 316.40 316.40
Deposit 09/07/2021 x 5,200.00 5,516.40
Deposit 09/10/2021 x 5,200.00 10,716.40
Deposit 09/13/2021 x 768,000.00 778,716.40
Bill Pmt -Check 09/15/2021 2693 SAMJAMLEXMAT, I... xX 0.00 778,716.40
Deposit 09/23/2021 x 28,000.00 806,716.40
Deposit 09/23/2021 x 1,238,000.00 2,044,716.40
Check 09/24/2021 Trayn... Ernest B. Traynham xX 0.00 2,044,716.40
Deposit 09/24/2021 X 25,000.00 2,069,716.40
Total Deposits and Credits 2,069,716.40 2,069,716.40
Total Cleared Transactions -110,041.58 -110,041.58
Cleared Balance -110,041.58 51,055.61
Uncleared Transactions
Checks and Payments - 18 items
Check 07/27/2021 Dbt07.... TD Bank Debit Card -482.00 -482.00
Check 08/31/2021 2678 Romandetti, Kris -21,402.94 -21,884.94
Check 08/31/2021 2681 Marcum LLP -20,787.16 -42,672.10
Check 08/31/2021 2679 Leading Edge Medic... -19,758.93 -62,431.03
Check 08/31/2021 2680 Locke Lord LLP -12,624.75 -75,055.78
Check 08/31/2021 2687 Smith & Associates -4,341,56 -79,397.34
Check 08/31/2021 2673 BB&T Visa -4,181.46 -83,578.80
Check 08/31/2021 2685 Net Suite -2,582.88 -86,161.68
Check 08/31/2021 2676 CS DISCO INC -1,972.83 -88,134.51
Check 08/31/2021 2686 Schnader Harrison ... -1,399.57 -89,534.08
Check 08/31/2021 2684 Morris Nichols Arsht... -658,94 -90,193.02
Check 08/31/2021 2677 Jackson Lewis P.C. -617.76 -90,810.78
Check 08/31/2021 2674 Broadridge ICS -129.73 -90,940.51
Check 08/31/2021 2675 Corporate Stock Tra... -65.61 -91,006.12
Check 08/31/2021 2683 Meehans' Office Pro... -17.08 ~94,023.20
Check 08/31/2021 2682 Mediant Communica... -2.21 -91,025.41
Bill Pmt -Check 09/30/2021 2696 CT Lien Solutions -295.00 -91,320.41
Bill Pmt -Check 09/30/2021 2697 Equiniti Trust Comp... -200.00 -91,520.41
Total Checks and Payments -91,520.41 -91,520.41
Total Uncleared Transactions -91,520.41 -91,520.41
Register Balance as of 09/30/2021 -201,561.99 -40,464.80

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10/04/21 Reconciliation Detail
10030 - TD Bank Operating, Period Ending 09/30/2021
Type Date Num Name Cir Amount Balance
New Transactions
Checks and Payments - 2 items
Bill Pmt -Check 10/01/2021 2698 Friedman, Lance -16,583.33 -16,583.33
Check 10/01/2021 Dbt09.., TD Bank Debit Card -36.90 -16,620.23
Total Checks and Payments -16,620.23 -16,620.23
Total New Transactions -16,620,23 -16,620.23
Ending Balance -218,182.22 -57,085.03

 

 

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